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                                                           6

                                                           7    Attorneys for Plaintiffs and Cross-Defendants,
                                                                SGI RESORT PROPERTIES, LLC and
                                                           8    THE SCHOMAC GROUP, INC.
                                                           9
                                                                                          IN THE UNITED STATES DISTRICT COURT
                                                           10
                                                                                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                           11
                                                                                                   SACRAMENTO DIVISION
                                                           12                                               )
                                                                                                            )
                                                           13   SGI RESORT PROPERTIES, LLC, an Arizona      ) Case No. 2:15-cv-02644-JAM-CMK
                                                                limited liability company; and THE          )
                                                           14   SCHOMAC GROUP, INC., an Arizona             )
                                                                corporation,                                ) ANSWER TO DEFENDANTS’ CROSS
                                                           15                                               )
                                                                                 Plaintiffs,                ) COMPLAINT FOR DAMAGES
                                         law corporation




                                                           16                                               )
                                                                        vs.                                 )
                                                           17                                               )
                                                                                                            )
                                                           18   BRETT ROSSELLI, an individual; NICOLE       )
                                                                BRUSO, an individual; and DOES 1 through )
                                                           19                                               )
                                                                20, inclusive,                              )
                                                           20                                               )
                                                                                 Defendants.                )
                                                           21                                               )
                                                                                                            )
                                                           22   BRETT ROSSELLI, an individual and NICOLE )
                                                                BRUSO, an individual,                       )
                                                           23                                               )
                                                                                 Cross-Claimants,           )
                                                           24                                               )
                                                                        vs.                                 )
                                                           25                                               )
                                                                SGI RESORT PROPERTIES, LLC, an Arizona )
                                                           26   Limited Liability Company; THE SCHOMAC )
                                                                GROUP, INC., an Arizona corporation,        )
                                                           27                                               )
                                                                                 Cross-Defendants.
                                                           28


                                                                                                                                 Answer to Cross-Complaint
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                                                           1           Plaintiffs and Cross-Defendants SGI RESORT PROPERTIES, LLC (“SGI”) and THE

                                                           2    SCHOMAC GROUP (“SCHOMAC”) (collectively, “Cross-Defendants”) hereby respond to and

                                                           3    answer Defendants and Cross-Claimants BRETT ROSSELLI’s (“Rosselli”) and NICOLE BRUSO’s

                                                           4    (“Bruso,” and collectively, “Cross-Claimants”) Cross-Complaint for Damages against Plaintiffs

                                                           5    (“Cross-Complaint”) as follows:

                                                           6           1.         Answering the allegations in paragraph 1, Cross-Defendants lack information

                                                           7    and belief sufficient to admit or deny the allegations in paragraph 1 of the Cross-Complaint

                                                           8    and on that basis deny them.

                                                           9           2.         Answering the allegations in paragraph 2, Cross-Defendants lack information

                                                           10   and belief sufficient to admit or deny the allegations in paragraph 2 of the Cross-Complaint
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                                                           11   and on that basis deny them.

                                                           12          3.         Answering the allegations in paragraph 3, Cross-Defendants admit that SGI is

                                                           13   an Arizona Limited Liability Company doing business in the State of California.

                                                           14          4.         Answering the allegations in paragraph 4, Cross-Defendants admit that

                                                           15   SCHOMAC is an Arizona Corporation doing business in the State of California.
                                         law corporation




                                                           16          5.         Answering the allegations in paragraph 5, Cross-Defendants deny each and

                                                           17   every factual allegation and/or conclusion of law contained therein.

                                                           18          6.         Answering the allegations in paragraph 6, Cross-Defendants admit the

                                                           19   allegations therein.

                                                           20          7.         Answering the allegations in paragraph 7, Cross-Defendants admit the

                                                           21   allegations therein.

                                                           22          8.         Answering the allegations in paragraph 8, Cross-Defendants lack information

                                                           23   and belief sufficient to admit or deny the allegations in paragraph 8 of the Cross-Complaint

                                                           24   and on that basis deny them.

                                                           25          9.         Answering the allegations in paragraph 9, Cross-Defendants admit that Rosselli

                                                           26   traveled to Clio, California from about March 29, 2015 to April 8, 2015. Cross-Defendants

                                                           27   deny all other allegations in paragraph 9 of the Cross-Complaint.

                                                           28   ///


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                                                           1           10.        Answering the allegations in paragraph 10, Cross-Defendants admit that in the

                                                           2    months preceding Rosselli’s employment, Nakoma management                    and     Rosselli    had

                                                           3    conversations regarding the various terms of his potential employment. Cross-Defendants deny

                                                           4    all other allegations in paragraph 10 of the Cross-Complaint.

                                                           5           11.        Answering the allegations in paragraph 11, Cross-Defendants admit that Rosselli

                                                           6    was hired on or about May 10, 2015 and was terminated on December 15, 2015. Cross-

                                                           7    Defendants deny all other allegations in paragraph 11 of the Cross-Complaint.

                                                           8           12.        Answering the allegations in paragraph 12, Cross-Defendants admit that Bruso

                                                           9    was hired on or about July 10, 2015 and was terminated on or about November 20, 2015.

                                                           10   Cross-Defendants deny all other allegations in paragraph 12 of the Cross-Complaint.
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                                                           11          13.        Answering the allegations in paragraph 13, Cross-Defendants deny each and

                                                           12   every factual allegation and/or conclusion of law contained therein.

                                                           13          14.        Answering the allegations in paragraph 14, Cross-Defendants deny each and

                                                           14   every factual allegation and/or conclusion of law contained therein.

                                                           15          15.        Answering the allegations in paragraph 15, Cross-Defendants deny each and
                                         law corporation




                                                           16   every factual allegation and/or conclusion of law contained therein.

                                                           17          16.        Answering the allegations in paragraph 16, Cross-Defendants admit that Rosselli

                                                           18   filed a claim for workers’ compensation based on an injury that allegedly occurred on

                                                           19   December 8, 2015. Cross-Defendants deny all other allegations in paragraph 16 of the Cross-

                                                           20   Complaint.

                                                           21          17.        Answering the allegations in paragraph 17, Cross-Defendants deny all

                                                           22   allegations therein.

                                                           23                                FIRST CLAIM FOR RELIEF (CONVERSION)

                                                           24          18.        Answering the allegations in paragraph 18, Cross-Defendants refer to and

                                                           25   incorporate by reference each and every response and allegation contained in paragraphs 1

                                                           26   through 17 of this Answer as thought fully set forth herein.

                                                           27          19.        Answering the allegations in paragraph 19, on information and belief, Cross-

                                                           28   Defendants admit the allegations therein.


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                                                           1           20.        Answering the allegations in paragraph 20, on information and belief, Cross-

                                                           2    Defendants admit the allegations therein.

                                                           3           21.        Answering the allegations in paragraph 21, Cross-Defendants admit the

                                                           4    allegations therein.

                                                           5           22.        Answering the allegations in paragraph 22, Cross-Defendants admit that Rosselli

                                                           6    requested reimbursement of the expenses identified in paragraphs 19 and 20. Cross-

                                                           7    Defendants further admit that they are still in possession of the property identified in

                                                           8    paragraphs 19 and 20. Cross-Defendants, however, reimbursed Rosselli in a check that was

                                                           9    issued on August 31, 2015, Check No. 11455. Cross-Defendants deny all other allegations in

                                                           10   paragraph 22 of the Cross-Complaint.
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                                                           11          23.        Answering the allegations in paragraph 23, Cross-Defendants deny each and

                                                           12   every factual allegation and/or conclusion of law contained therein.

                                                           13          24.        Answering the allegations in paragraph 24, Cross-Defendants deny each and

                                                           14   every factual allegation and/or conclusion of law contained therein.

                                                           15          25.        Answering the allegations in paragraph 25, Cross-Defendants deny each and
                                         law corporation




                                                           16   every factual allegation and/or conclusion of law contained therein.

                                                           17          26.        Answering the allegations in paragraph 26, Cross-Defendants deny each and

                                                           18   every factual allegation and/or conclusion of law contained therein.

                                                           19                          SECOND CLAIM FOR RELIEF (UNJUST ENRICHMENT)

                                                           20          27.        Answering the allegations in paragraph 27, Cross-Defendants refer to and

                                                           21   incorporate by reference each and every response and allegation contained in paragraphs 1

                                                           22   through 26 of this Answer as thought fully set forth herein.

                                                           23          28.        Answering the allegations in paragraph 28, Cross-Defendants deny each and

                                                           24   every factual allegation and/or conclusion of law contained therein.

                                                           25          29.        Answering the allegations in paragraph 29, Cross-Defendants deny each and

                                                           26   every factual allegation and/or conclusion of law contained therein.

                                                           27          30.        Answering the allegations in paragraph 30, Cross-Defendants deny each and

                                                           28   every factual allegation and/or conclusion of law contained therein.


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                                                           1           31.        Answering the allegations in paragraph 31, Cross-Defendants deny each and

                                                           2    every factual allegation and/or conclusion of law contained therein.

                                                           3                                THIRD CLAIM FOR RELIEF (DEFAMATION)

                                                           4           32.        Answering the allegations in paragraph 32, Cross-Defendants refer to and

                                                           5    incorporate by reference each and every response and allegation contained in paragraphs 1

                                                           6    through 31 of this Answer as thought fully set forth herein.

                                                           7           33.        Answering the allegations in paragraph 33, Cross-Defendants deny each and

                                                           8    every factual allegation and/or conclusion of law contained therein.

                                                           9           34.        Answering the allegations in paragraph 34, Cross-Defendants deny each and

                                                           10   every factual allegation and/or conclusion of law contained therein.
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                                                           11          35.        Answering the allegations in paragraph 35, Cross-Defendants deny each and

                                                           12   every factual allegation and/or conclusion of law contained therein.

                                                           13          36.        Answering the allegations in paragraph 36, Cross-Defendants deny each and

                                                           14   every factual allegation and/or conclusion of law contained therein.

                                                           15          37.        Answering the allegations in paragraph 37, Cross-Defendants deny each and
                                         law corporation




                                                           16   every factual allegation and/or conclusion of law contained therein.

                                                           17          38.        Answering the allegations in paragraph 38, Cross-Defendants deny each and

                                                           18   every factual allegation and/or conclusion of law contained therein.

                                                           19                                FOURTH CLAIM FOR RELIEF (SLANDER)

                                                           20          39.        Answering the allegations in paragraph 39, Cross-Defendants refer to and

                                                           21   incorporate by reference each and every response and allegation contained in paragraphs 1

                                                           22   through 38 of this Answer as thought fully set forth herein.

                                                           23          40.        Answering the allegations in paragraph 40, Cross-Defendants deny each and

                                                           24   every factual allegation and/or conclusion of law contained therein.

                                                           25          41.        Answering the allegations in paragraph 41, Cross-Defendants deny each and

                                                           26   every factual allegation and/or conclusion of law contained therein.

                                                           27          42.        Answering the allegations in paragraph 42, Cross-Defendants deny each and

                                                           28   every factual allegation and/or conclusion of law contained therein.


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                                                           1           43.        Answering the allegations in paragraph 43, Cross-Defendants deny each and

                                                           2    every factual allegation and/or conclusion of law contained therein.

                                                           3           44.        Answering the allegations in paragraph 44, Cross-Defendants deny each and

                                                           4    every factual allegation and/or conclusion of law contained therein.

                                                           5           45.        Answering the allegations in paragraph 45, Cross-Defendants deny each and

                                                           6    every factual allegation and/or conclusion of law contained therein.

                                                           7                                 FIFTH CLAIM FOR RELIEF (TRADE LIBEL)

                                                           8           46.        Answering the allegations in paragraph 46, Cross-Defendants refer to and

                                                           9    incorporate by reference each and every response and allegation contained in paragraphs 1

                                                           10   through 46 of this Answer as thought fully set forth herein.
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                                                           11          47.        Answering the allegations in paragraph 47, Cross-Defendants deny each and

                                                           12   every factual allegation and/or conclusion of law contained therein.

                                                           13          48.        Answering the allegations in paragraph 48, Cross-Defendants deny each and

                                                           14   every factual allegation and/or conclusion of law contained therein.

                                                           15          49.        Answering the allegations in paragraph 49, Cross-Defendants deny each and
                                         law corporation




                                                           16   every factual allegation and/or conclusion of law contained therein.

                                                           17          50.        Answering the allegations in paragraph 50, Cross-Defendants deny each and

                                                           18   every factual allegation and/or conclusion of law contained therein.

                                                           19          51.        Answering the allegations in paragraph 51, Cross-Defendants deny each and

                                                           20   every factual allegation and/or conclusion of law contained therein.

                                                           21          52.        Answering the allegations in paragraph 52, Cross-Defendants deny each and

                                                           22   every factual allegation and/or conclusion of law contained therein.

                                                           23                                   SIXTH CLAIM FOR RELIEF (FRAUD)

                                                           24          53.        Answering the allegations in paragraph 53, Cross-Defendants refer to and

                                                           25   incorporate by reference each and every response and allegation contained in paragraphs 1

                                                           26   through 52 of this Answer as thought fully set forth herein.

                                                           27          54.        Answering the allegations in paragraph 54, Cross-Defendants deny each and

                                                           28   every factual allegation and/or conclusion of law contained therein.


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                                                           1           55.        Answering the allegations in paragraph 55, Cross-Defendants deny each and

                                                           2    every factual allegation and/or conclusion of law contained therein.

                                                           3           56.        Answering the allegations in paragraph 56, Cross-Defendants deny each and

                                                           4    every factual allegation and/or conclusion of law contained therein.

                                                           5           57.        Answering the allegations in paragraph 57, Cross-Defendants deny each and

                                                           6    every factual allegation and/or conclusion of law contained therein.

                                                           7           58.        Answering the allegations in paragraph 58, Cross-Defendants deny each and

                                                           8    every factual allegation and/or conclusion of law contained therein.

                                                           9           59.        Answering the allegations in paragraph 59, Cross-Defendants deny each and

                                                           10   every factual allegation and/or conclusion of law contained therein.
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                                                           11          60.        Answering the allegations in paragraph 60, Cross-Defendants deny each and

                                                           12   every factual allegation and/or conclusion of law contained therein.

                                                           13                 SEVENTH CLAIM FOR RELIEF (INTENTIONAL MISREPRESENTATION)

                                                           14          61.        Answering the allegations in paragraph 61, Cross-Defendants refer to and

                                                           15   incorporate by reference each and every response and allegation contained in paragraphs 1
                                         law corporation




                                                           16   through 60 of this Answer as thought fully set forth herein.

                                                           17          62.        Answering the allegations in paragraph 62, Cross-Defendants deny each and

                                                           18   every factual allegation and/or conclusion of law contained therein.

                                                           19          63.        Answering the allegations in paragraph 63, Cross-Defendants deny each and

                                                           20   every factual allegation and/or conclusion of law contained therein.

                                                           21          64.        Answering the allegations in paragraph 64, Cross-Defendants deny each and

                                                           22   every factual allegation and/or conclusion of law contained therein.

                                                           23          65.        Answering the allegations in paragraph 65, Cross-Defendants deny each and

                                                           24   every factual allegation and/or conclusion of law contained therein.

                                                           25          66.        Answering the allegations in paragraph 66, Cross-Defendants deny each and

                                                           26   every factual allegation and/or conclusion of law contained therein.

                                                           27          67.        Answering the allegations in paragraph 67, Cross-Defendants deny each and

                                                           28   every factual allegation and/or conclusion of law contained therein.


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                                                           1           68.        Answering the allegations in paragraph 68, Cross-Defendants deny each and

                                                           2    every factual allegation and/or conclusion of law contained therein.

                                                           3                          EIGHTH CLAIM FOR RELIEF (DETRIMENTAL RELIANCE)

                                                           4           69.        Answering the allegations in paragraph 69, Cross-Defendants refer to and

                                                           5    incorporate by reference each and every response and allegation contained in paragraphs 1

                                                           6    through 68 of this Answer as thought fully set forth herein.

                                                           7           70.        Answering the allegations in paragraph 70, Cross-Defendants deny each and

                                                           8    every factual allegation and/or conclusion of law contained therein.

                                                           9           71.        Answering the allegations in paragraph 71, Cross-Defendants deny each and

                                                           10   every factual allegation and/or conclusion of law contained therein.
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                                                           11          72.        Answering the allegations in paragraph 72, Cross-Defendants deny each and

                                                           12   every factual allegation and/or conclusion of law contained therein.

                                                           13          73.        Answering the allegations in paragraph 73, Cross-Defendants deny each and

                                                           14   every factual allegation and/or conclusion of law contained therein.

                                                           15          74.        Answering the allegations in paragraph 74, Cross-Defendants deny each and
                                         law corporation




                                                           16   every factual allegation and/or conclusion of law contained therein.

                                                           17          75.        Answering the allegations in paragraph 75, Cross-Defendants deny each and

                                                           18   every factual allegation and/or conclusion of law contained therein.

                                                           19          76.        Answering the allegations in paragraph 76, Cross-Defendants deny each and

                                                           20   every factual allegation and/or conclusion of law contained therein.

                                                           21                            NINTH CLAIM FOR RELIEF (CIVIL CONSPIRACY)

                                                           22          77.        Answering the allegations in paragraph 77, Cross-Defendants refer to and

                                                           23   incorporate by reference each and every response and allegation contained in paragraphs 1

                                                           24   through 76 of this Answer as thought fully set forth herein.

                                                           25          78.        Answering the allegations in paragraph 78, Cross-Defendants deny each and

                                                           26   every factual allegation and/or conclusion of law contained therein.

                                                           27          79.        Answering the allegations in paragraph 79, Cross-Defendants deny each and

                                                           28   every factual allegation and/or conclusion of law contained therein.


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                                                           1           80.        Answering the allegations in paragraph 80, Cross-Defendants deny each and

                                                           2    every factual allegation and/or conclusion of law contained therein.

                                                           3           81.        Answering the allegations in paragraph 81, Cross-Defendants deny each and

                                                           4    every factual allegation and/or conclusion of law contained therein.

                                                           5           82.        Answering the allegations in paragraph 82, Cross-Defendants deny each and

                                                           6    every factual allegation and/or conclusion of law contained therein.

                                                           7           83.        Answering the allegations in paragraph 83, Cross-Defendants deny each and

                                                           8    every factual allegation and/or conclusion of law contained therein.

                                                           9                          TENTH CLAIM FOR RELIEF (WRONGFUL TERMINATION)

                                                           10          84.        Answering the allegations in paragraph 84, Cross-Defendants refer to and
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                                                           11   incorporate by reference each and every response and allegation contained in paragraphs 1

                                                           12   through 83 of this Answer as thought fully set forth herein.

                                                           13          85.        Answering the allegations in paragraph 85, Cross-Defendants deny all

                                                           14   allegations therein.

                                                           15          86.        Answering the allegations in paragraph 86, Cross-Defendants deny all
                                         law corporation




                                                           16   allegations therein.

                                                           17          87.        Answering the allegations in paragraph 87, Cross-Defendants admit that Rosselli

                                                           18   filed a claim for workers’ compensation based on an injury that allegedly occurred on

                                                           19   December 8, 2015. Cross-Defendants deny all other allegations in paragraph 87 of the Cross-

                                                           20   Complaint.

                                                           21          88.        Answering the allegations in paragraph 88, Cross-Defendants deny all

                                                           22   allegations therein.

                                                           23          89.        Answering the allegations in paragraph 89, Cross-Defendants deny all

                                                           24   allegations therein.

                                                           25          90.        Answering the allegations in paragraph 90, Cross-Defendants deny all

                                                           26   allegations therein.

                                                           27          91.        Answering the allegations in paragraph 91, Cross-Defendants lack information

                                                           28   and belief sufficient to admit or deny the allegations in paragraph 91 of the Cross-Complaint


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                                                           1    and on that basis deny them. Cross-Defendants deny that there was any contract between

                                                           2    Rosselli and Cross-Defendants. Cross-Defendants deny that there was any contract between

                                                           3    Rosselli and Nakoma.

                                                           4           92.        Answering the allegations in paragraph 92, Cross-Defendants deny each and

                                                           5    every factual allegation and/or conclusion of law contained therein.

                                                           6           93.        Answering the allegations in paragraph 93, Cross-Defendants deny each and

                                                           7    every factual allegation and/or conclusion of law contained therein.

                                                           8           94.        Answering the allegations in paragraph 94, Cross-Defendants deny each and

                                                           9    every factual allegation and/or conclusion of law contained therein.

                                                           10                                         PRAYER FOR RELIEF
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                                                           11          95.        Answering the allegations in paragraph 1 of the prayer for relief, Cross-

                                                           12   Defendants deny each and every factual allegation and/or conclusion of law contained therein

                                                           13   and further deny that Cross-Claimants are entitled to any relief whatsoever from Cross-

                                                           14   Defendants.

                                                           15          96.        Answering the allegations in paragraph 2 of the prayer for relief, Cross-
                                         law corporation




                                                           16   Defendants deny each and every factual allegation and/or conclusion of law contained therein

                                                           17   and further deny that Cross-Claimants are entitled to any relief whatsoever from Cross-

                                                           18   Defendants.

                                                           19          97.        Answering the allegations in paragraph 3 of the prayer for relief, Cross-

                                                           20   Defendants deny each and every factual allegation and/or conclusion of law contained therein

                                                           21   and further deny that Cross-Claimants are entitled to any relief whatsoever from Cross-

                                                           22   Defendants.

                                                           23          98.        Answering the allegations in paragraph 4 of the prayer for relief, Cross-

                                                           24   Defendants deny each and every factual allegation and/or conclusion of law contained therein

                                                           25   and further deny that Cross-Claimants are entitled to any relief whatsoever from Cross-

                                                           26   Defendants.

                                                           27          99.        Answering the allegations in paragraph 5 of the prayer for relief, Cross-

                                                           28   Defendants deny each and every factual allegation and/or conclusion of law contained therein


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                                                           1    and further deny that Cross-Claimants are entitled to any relief whatsoever from Cross-

                                                           2    Defendants.

                                                           3           100. Answering the allegations in paragraph 6 of the prayer for relief, Cross-

                                                           4    Defendants deny each and every factual allegation and/or conclusion of law contained therein

                                                           5    and further deny that Cross-Claimants are entitled to any relief whatsoever from Cross-

                                                           6    Defendants.

                                                           7                                         AFFIRMATIVE DEFENSES

                                                           8           By way of affirmative defenses to the allegations of the Cross-Complaint herein, Cross-

                                                           9    Defendants allege as follows:

                                                           10                                      FIRST AFFIRMATIVE DEFENSE
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                                                           11          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           12          1.         The Cross-Complaint and each of the purported claims for relief contained

                                                           13   therein fails to state facts sufficient to constitute a claims for relief against Cross-Defendants.

                                                           14                                    SECOND AFFIRMATIVE DEFENSE

                                                           15          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:
                                         law corporation




                                                           16          2.         The purported damages sought by Cross-Claimants in this action were

                                                           17   proximately caused by Cross-Claimants’ failure to mitigate damages.

                                                           18                                      THIRD AFFIRMATIVE DEFENSE

                                                           19          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           20          3.         By reason of Cross-Claimants’ conduct, Cross-Claimants have waived their right

                                                           21   to assert each and all of the claims contained in the Cross-Complaint.

                                                           22                                    FOURTH AFFIRMATIVE DEFENSE

                                                           23          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           24          4.         By reason of Cross-Claimants’ conduct, Cross-Claimants are estopped from

                                                           25   asserting each and every claim contained in the Cross-Complaint against Cross-Defendants.

                                                           26                                      FIFTH AFFIRMATIVE DEFENSE

                                                           27          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           28          5.         Cross-Claimants are barred from obtaining the relief sought in the Cross-


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                                                           1    Complaint, or any other relief whatsoever, because Cross-Defendants’ conduct of which Cross-

                                                           2    Claimants now complains, was justified and a result of Cross-Defendants’ exercise of sound

                                                           3    and legitimate business judgment.

                                                           4                                      SIXTH AFFIRMATIVE DEFENSE

                                                           5           As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           6           6.         Cross-Claimants are barred from obtaining the relief sought in the Cross-

                                                           7    Complaint, or any other relief whatsoever, because they are guilty of unclean hands.

                                                           8                                     SEVENTH AFFIRMATIVE DEFENSE

                                                           9           As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           10          7.         Cross-Claimants have delayed an unreasonable period of time in bringing this
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                                                           11   action, which has resulted in prejudice to Cross-Defendants’ ability to defend against the

                                                           12   claims asserted by Cross-Claimants. Said delay serves as a bar to the action based upon the

                                                           13   doctrine of laches.

                                                           14                                    EIGHTH AFFIRMATIVE DEFENSE

                                                           15          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:
                                         law corporation




                                                           16          8.         Cross-Claimants are barred from obtaining the relief sought in the Cross-

                                                           17   Complaint, or any relief whatsoever, because at all times relevant to the Cross-Complaint,

                                                           18   Cross-Defendants acted in good faith and had reasonable grounds for believing that their

                                                           19   actions complied with applicable statutes, regulations, or other laws.

                                                           20                                     NINTH AFFIRMATIVE DEFENSE

                                                           21          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           22          9.         Cross-Claimants are barred from obtaining the relief sought in the Cross-

                                                           23   Complaint, or any relief whatsoever, based on the statute of frauds doctrine.

                                                           24                                     TENTH AFFIRMATIVE DEFENSE

                                                           25          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           26          10.        Cross-Claimants are barred from obtaining the relief sought in the Cross-

                                                           27   Complaint, or any relief whatsoever, as any obligation to perform on the part of Cross-

                                                           28   Defendants, as alleged in the Cross-Complaint, was released by Cross-Claimants.


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                                                           1                                    ELEVENTH AFFIRMATIVE DEFENSE

                                                           2           As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           3           11.        Cross-Claimants are barred from obtaining the relief sought in the Cross-

                                                           4    Complaint, or any relief whatsoever, because the conduct of which Cross-Claimants now

                                                           5    complains was ratified by Cross-Claimants’ words, conduct, and/or actions.

                                                           6                                     TWELFTH AFFIRMATIVE DEFENSE

                                                           7           As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           8           12.        Cross-Claimants are barred from obtaining the relief sought in the Cross-

                                                           9    Complaint, or any relief whatsoever, as any obligation to perform on the part of Cross-

                                                           10   Defendants, as alleged in the Cross-Complaint, was excused and/or discharged.
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                                                           11                                  THIRTEENTH AFFIRMATIVE DEFENSE

                                                           12          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           13          13.        Cross-Claimants are barred from obtaining the relief sought in the Cross-

                                                           14   Complaint, or any relief whatsoever, because any recovery by Cross-Claimants would serve to

                                                           15   frustrate the purpose of the relevant agreements alleged by Cross-Claimants in the Cross-
                                         law corporation




                                                           16   Complaint.

                                                           17                                  FOURTEENTH AFFIRMATIVE DEFENSE

                                                           18          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           19          14.        Cross-Defendants are excused from any failure to perform the alleged contract

                                                           20   because Cross-Claimants failed to perform all conditions precedent.

                                                           21                                   FIFTEENTH AFFIRMATIVE DEFENSE

                                                           22          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           23          15.        Cross-Claimants are barred from obtaining the relief sought in the Cross-

                                                           24   Complaint by virtue of the fact that any loss or damage sustained by Cross-Claimants was

                                                           25   caused solely and proximately by the conduct, errors, faults, negligence, omissions, and

                                                           26   breaches of obligations by persons or entities other than Cross-Defendants.

                                                           27   ///

                                                           28   ///


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                                                           1                                    SIXTEENTH AFFIRMATIVE DEFENSE

                                                           2           As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           3           16.        The Cross-Complaint and each of the claims for relief alleged therein against

                                                           4    Cross-Defendants is barred by Cross-Claimants’ own breach of contract.

                                                           5                                  SEVENTEENTH AFFIRMATIVE DEFENSE

                                                           6           As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           7           17.        Cross-Defendants are informed and believe, and thereon allege, if any

                                                           8    contracts, obligations, or agreements were entered into by Cross-Defendants, as alleged in the

                                                           9    Cross-Complaint, any duties of performance by Cross-Defendants thereunder were excused by

                                                           10   reason of unilateral and/or mutual mistake, lack and/or failure of consideration, waiver, non-
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                                                           11   occurrence and/or breach of a condition precedent, material breach by Cross-Claimants,

                                                           12   impossibility of performance, prevention of performance by Cross-Claimants, frustration of

                                                           13   purpose, and/or acceptance by Cross-Claimants, thus barring any recovery by Cross-

                                                           14   Claimants as against Cross-Defendants.

                                                           15                                  EIGHTEENTH AFFIRMATIVE DEFENSE
                                         law corporation




                                                           16          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           17          18.        Cross-Claimants are barred from recovery on the Cross-Complaint by reason of

                                                           18   the doctrine of accord and satisfaction.

                                                           19                                  NINETEENTH AFFIRMATIVE DEFENSE

                                                           20          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           21          19.        Cross-Claimants are barred from recovery on the Cross-Complaint because

                                                           22   Cross-Claimants violated the implied covenant of good faith and fair dealing.

                                                           23                                   TWENTIETH AFFIRMATIVE DEFENSE

                                                           24          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           25          20.        Cross-Defendants are informed and believe, and based thereon allege, that

                                                           26   Cross-Claimants have not suffered any damages as a result of any conduct or omission

                                                           27   attributable to Cross-Defendants.

                                                           28   ///


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                                                           1                                   TWENTY-FIRST AFFIRMATIVE DEFENSE

                                                           2           As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           3           21.        Cross-Claimants’ Cross-Complaint fails to state facts sufficient for an award of

                                                           4    attorneys’ fees against Cross-Defendants.

                                                           5                                 TWENTY-SECOND AFFIRMATIVE DEFENSE

                                                           6           As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           7           22.        Any recovery on the Cross-Complaint, or on any purported claims for relief

                                                           8    alleged therein, is barred by California Labor Code sections 2854 and 2856 in that Cross-

                                                           9    Claimants failed to use ordinary care and diligence in the performance of their duties and

                                                           10   failed to comply substantially with the reasonable directions of their employer.
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                                                           11                                 TWENTY-THIRD AFFIRMATIVE DEFENSE

                                                           12          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           13          23.        The Cross-Complaint, and each purported claims for relief alleged therein, is

                                                           14   barred in whole or in part because Cross-Claimants failed to exhaust administrative remedies.

                                                           15                                TWENTY-FOURTH AFFIRMATIVE DEFENSE
                                         law corporation




                                                           16          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           17          24.        Any recovery on the Cross-Complaint, and each purported claims for relief

                                                           18   alleged therein, must be barred or reduced to the extent that Cross-Claimants did not exercise

                                                           19   reasonable care and failed to take advantage of, and exhaust, the preventative or corrective

                                                           20   opportunities provided by Cross-Defendants and/or Nakoma. Cross-Defendants exercised

                                                           21   reasonable care to prevent and correct promptly any acts of discrimination and/or retaliation.

                                                           22   Cross-Defendants maintain and enforce policies prohibiting discrimination, harassment, and

                                                           23   retaliation of and against its employees.

                                                           24                                  TWENTY-FIFTH AFFIRMATIVE DEFENSE

                                                           25          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           26          25.        Cross-Defendants    allege   that   Cross-Defendants   had    legitimate,     non-

                                                           27   discriminatory reasons for their conduct.

                                                           28   ///


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                                                           1                                   TWENTY-SIXTH AFFIRMATIVE DEFENSE

                                                           2           As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           3           26.        Cross-Defendants allege that they had effective policies and practices in place to

                                                           4    prevent the discrimination and/or retaliation that Cross-Claimants allege.

                                                           5                                 TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                                                           6           As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           7           27.        Cross-Claimants are barred from obtaining the relief sought in the Cross-

                                                           8    Complaint, or any relief whatsoever, because the actions allegedly taken by other individuals

                                                           9    of which Cross-Complainant now complains (which Cross-Defendants expressly deny occurred

                                                           10   as plead, but merely state for the purpose of this affirmative defense) were outside the scope of
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                                                           11   employment and Cross-Defendants are not responsible for such conduct.

                                                           12                                 TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                                                           13          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           14          28.        Cross-Claimants are barred from obtaining the relief sought in the Cross-

                                                           15   Complaint, or any relief whatsoever from Cross-Defendants, pursuant to California Labor
                                         law corporation




                                                           16   Code section 2922, governing at-will employment.

                                                           17                                 TWENTY-NINTH AFFIRMATIVE DEFENSE

                                                           18          As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           19          29.        Cross-Claimants are barred from obtaining the relief sought in the Cross-

                                                           20   Complaint, or any other relief whatsoever, because Cross-Claimants have failed to state a

                                                           21   claim for punitive and/or exemplary damages under California Civil Code section 3294.

                                                           22   Without admitting that Cross-Defendants acted unlawfully towards Cross-Claimants, Cross-

                                                           23   Defendants are informed and believe that if Cross-Defendants acted unlawfully towards Cross-

                                                           24   Claimants (which Cross-Defendants expressly deny occurred as plead, but merely state for the

                                                           25   purpose of this affirmative defense), that such acts were not intentionally directed towards

                                                           26   Cross-Claimants and were not carried out with a conscious disregard for Cross-Claimants’

                                                           27   rights. Cross-Defendants conduct as alleged in the Cross-Complaint does not constitute

                                                           28   oppression, fraud, or malice. Thus, Cross-Claimants are not entitled to punitive damages, and


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                                                           1    the imposition of such excessive damages is barred by the Constitutions of the United States

                                                           2    and the State of California.

                                                           3                                     THIRTIETH AFFIRMATIVE DEFENSE

                                                           4             As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           5             30.      Cross-Claimants are barred by Civil Code section 47(c) because any alleged

                                                           6    statements made by Cross-Defendant were communications by an interested person, made

                                                           7    without malice, to other interested person(s) and/or to persons who requested the information

                                                           8    given.

                                                           9                                   THIRTY-FIRST AFFIRMATIVE DEFENSE

                                                           10            As and for an affirmative defense to all claims for relief, Cross-Defendants allege:
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                                                           11            31.      Cross-Claimants are barred because any alleged statements made by Cross-

                                                           12   Defendants were true.

                                                           13                                THIRTY-SECOND AFFIRMATIVE DEFENSE

                                                           14            As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           15            32.      Cross-Claimants are barred in whole or in part because Cross-Defendants’
                                         law corporation




                                                           16   conduct is privileged pursuant to Civil Code section 47(b).

                                                           17                                  THIRTY-THIRD AFFIRMATIVE DEFENSE

                                                           18            As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           19            33.      Cross-Claimants are barred because any alleged statements made by Cross-

                                                           20   Defendants were non-actionable opinions.

                                                           21                                THIRTY- FOURTH AFFIRMATIVE DEFENSE

                                                           22            As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           23            34.      Cross-Claimants are barred in whole or in part by the statute of limitations of

                                                           24   California Code of Civil Procedure section 340(3).

                                                           25                                  THIRTY-FIFTH AFFIRMATIVE DEFENSE

                                                           26            As and for an affirmative defense to all claims for relief, Cross-Defendants allege:

                                                           27            35.      Because the Cross-Complaint is based on nebulous allegations and unfounded

                                                           28   conclusions, Cross-Defendants cannot fully anticipate all applicable defenses and currently


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                                                           1    have insufficient knowledge or information upon which to form a belief as to whether they may

                                                           2    have additional, as yet unstated, affirmative defenses available.         Thus, Cross-Defendants

                                                           3    reserve the right to assert additional affirmative defenses in the event that discovery indicates

                                                           4    they would be appropriate.

                                                           5           WHEREFORE, Cross-Defendants pray for judgment as follows:

                                                           6           1.         That the Cross-Complaint be dismissed and that Cross-Claimants take nothing

                                                           7    from Cross-Defendants by reason of their Cross-Complaint;

                                                           8           2.         That judgment be entered in favor of Cross-Defendants on all claims;

                                                           9           3.         That Cross-Defendants recover its costs of suit incurred herein, including

                                                           10   reasonable attorneys’ fees; and
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                                                           11          4.         For such other and further relief as the Court deems just and proper.

                                                           12

                                                           13   Dated: April 1, 2016                   weintraub tobin chediak coleman grodin
                                                                                                       LAW CORPORATION
                                                           14
                                                                                                             /s/ Alden J. Parker
                                                           15                                          By:________________________________________
                                         law corporation




                                                           16                                                Alden J. Parker
                                                                                                             Daniel C. Kim
                                                           17
                                                                                                               Attorneys for Plaintiffs and Cross-Defendants
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